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 JUSTIN CAPORALE, et al.,                        :
                                                 : UNITED STATES DISTRICT COURT
               Plaintiffs,                       :    DISTRICT OF NEW JERSEY
                                                 :
        v.                                       :   Civil Action No. 21-20484 (ZNQ)
                                                 :
 CELLCO PARTNERSHIP d/b/a                        :  INITIAL SCHEDULING ORDER
 VERIZON WIRELESS,                               :
                                                 :
               Defendant.

       THIS MATTER having come before the Court for an initial scheduling conference
pursuant to Rule 16 of the Federal Rules of Civil Procedure on May 3, 2022; and the Court
having conferred with counsel concerning the timely completion of discovery; and good cause
appearing for the entry of this Order:

       IT IS on this 3rd     day of May, 2022

       ORDERED THAT:

   1. This action is hereby consolidated with 22-0611 (ZNQ), Robert Peede, Jr., v. Cellco
      Partnership d/b/a Verizon Wireless, for pretrial discovery and case management
      purposes.

   2. The parties’ initial written discovery requests must be served by May 24, 2022.

   3. In accordance with the Court’s discussion with counsel and the agreement of the parties,
      the parties may serve a maximum of 10 requests for admission or interrogatories.

   4. The parties’ written discovery responses must be served by June 3, 2022.

   5. Any disputes related to the parties’ responses must be submitted to the Court, in writing,
      by June 10, 2022. Any response to such disputes must be submitted to the Court by
      June 17, 2022.

   6. Counsel must meet and confer in a good faith effort to resolve any discovery or case
      management dispute before bringing such dispute to the attention of the Court. See
      L.Civ.R. 16.1(f)(1). Any unresolved disputes must be brought to the Court’s attention
      promptly by a joint letter to the undersigned.

   7. No discovery motion or motion for sanctions for failure to provide discovery shall be
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        made without prior leave of Court.

   8.    Counsel must confer at least 48 hours in advance of each Court appearance to confirm
        attendance and to review any matters to be discussed with the Court.

   9. Since all dates set forth herein are established with the assistance and knowledge of
      counsel, there will be no extensions except for good cause shown and by leave of the
      Court, even with consent of all counsel.




                                                       s/ Douglas E. Arpert
                                                     DOUGLAS E. ARPERT
                                                     United States Magistrate Judge
